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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JULIO REYNOSO, LUIS GONZALEZ, and
MANUEL GONZALEZ, on behalf of
themselves and all other Plaintiffs similarly
situated, known and unknown,                               Case No. 13-cv-05004


                              Plaintiffs,

        v.
                                                           Honorable Milton I. Shadur,
MOTEL LLC, an Illinois Limited Liability                   Presiding Judge
Company, d/b/a MOTEL BAR, and HERBERT
GREENWALD, an individual,                                  Magistrate Judge Jeffrey Cole

                              Defendants.

               PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
             THEIR MOTION FOR SUMMARY JUDGMENT ON ALL COUNTS

I.      INTRODUCTION

        Plaintiffs, Manuel Gonzalez, Luis Gonzalez, and Julio Reynoso, brought this action

against Defendants, Motel LLC (“Motel”) and Herbert Greenwald (“Greenwald”), for unpaid

overtime wages pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq.,

and the Illinois Minimum Wage Law (“IMWL”), 820 ILCS § 105/1, et seq. Defendants admit

that the Plaintiffs worked for Defendants, worked more than forty (40) hours per week, and were

not exempt from the overtime wage provisions of the FLSA and IMWL. Defendants further

admit that Plaintiffs were not paid overtime wages. Because Plaintiffs were not paid overtime

wages for hours worked over forty (40) in a workweek, they are each entitled to judgment and

damages as a matter of law on their FLSA and IMWL claims.

II.     FACTUAL BACKGROUND

        A.     This Court Has Jurisdiction Over Plaintiffs’ Claims and Venue Is Proper
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       This Court has jurisdiction over Plaintiffs’ FLSA claim pursuant to 29 U.S.C. § 216(b)

and 28 U.S.C. § 1331. (See Plaintiffs’ Local Rule 56.1(a)(3) Statement of Undisputed Material

Facts in Support of Their Motion for Summary Judgment, ¶ 1, (“PSMF ¶ ___”)). This Court has

supplemental jurisdiction over Plaintiffs’ state law claim pursuant to 28 U.S.C. § 1367. (See Id.)

Venue is proper in this judicial district because the facts and events giving rise to Plaintiffs’

claims under the FLSA and IMWL occurred in this judicial district. (See PSMF ¶ 2-3.)

Defendants owned and operated a restaurant and bar, Motel Bar, within this judicial district and

Defendant Greenwald resides in and is domiciled within this judicial district. (See PSMF ¶ 3-4.)

       B.      Defendants Are Liable Under the FLSA and IMWL

       As current and former cooks and dishwashers employed by Defendants, the Plaintiffs are

each a non-exempt “employee” under the FLSA and IMWL. (See PSMF ¶ 10-12.) Defendants

Motel and Greenwald each constitute an “employer” under the FLSA and IMWL and Defendant

Motel is an enterprise engaged in commerce under the FLSA. (See PSMF ¶ 5-8.) During the

three years preceding this lawsuit, Plaintiffs Julio Reynoso, Luis Gonzalez, and Manuel

Gonzalez worked more than 40 hours in an individual workweek. (See PSMF ¶ 13-15.)

Defendants admit that the Plaintiffs were not paid overtime compensation at a rate of one and

one-half times their regular hourly rates of pay. (See PSMF ¶ 16.)

       C.      Plaintiffs Are Entitled to Damages Under the FLSA and IMWL

       Defendants do not have daily time records for the Plaintiffs for the time period from

January 2010 through December 2012. (See PSMF ¶ 17.) However, the Defendants produced

Pay Period Ending Reports which show the hours worked by Plaintiffs during two-week pay

periods in 2010, 2011, 2012, and the first pay period in January 2013. (See PSMF ¶ 18-20, 26

35-41, 50-55.) For the subsequent pay periods from January 2013 through the end of June 2013,




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Plaintiffs Manuel Gonzalez and Luis Gonzalez have each produced copies of their paycheck

stubs for all but one pay period, and further offered their own sworn testimony regarding their

normal work schedule and average hours worked. (See PSMF ¶ 25, 27-28, 34, 42-43.) Plaintiff

Julio Reynoso has also offered his sworn testimony regarding his work schedule and average

hours worked, and he has produced copies of Defendants’ Labor 2 Reports which Defendants

used to compile their Pay Period Ending Reports. (See PSMF ¶ 21, 49, 57-58.)

       Based upon Defendants’ Pay Period Ending Reports as well as his sworn testimony and

wage stubs, Plaintiff Manuel Gonzalez worked at least 1,052 hours in excess of 40 in individual

workweeks during the last three years before this suit was filed. (See PSMF ¶ 25-28, 31, and

Exh. I-1.) Based upon the same set of evidence, Plaintiff Luis Gonzalez worked at least 4,701.5

hours in excess of 40 in individual workweeks during the last three years before this suit was

filed. (See PSMF ¶ 34, 36-38, 40-43, 46 and Exh. I-2.) Lastly, based upon Defendants’ Pay

Period Ending Reports, Labor 2 Reports, and his own sworn testimony, Plaintiff Julio Reynoso

worked at least 2,423.86 hours in excess of 40 in individual workweeks during the last three

years before this suit was filed. (See PSMF ¶ 49, 51-54, 56, 57-58, 62, and Exh. I-3.) Defendants

never paid overtime compensation to Plaintiffs until this suit was filed. (See PSMF ¶ 21, 29-30,

44-45, 55, 60-61.)

       Consequently, unpaid overtime compensation is due Plaintiff Manuel Gonzalez in an

amount not less than $5,260.00, due Plaintiff Luis Gonzalez in an amount not less than

$23,226.78, and due Julio Reynoso in an amount not less than $16,736.72. (See PSMF ¶ 31, 46,

62.) Pursuant to 820 ILCS 105/12(a), statutory interest at the rate of 2% per month under the

IMWL is applied to Defendants’ underpayments and such interest is due Plaintiff Manuel




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Salazar in the amount of $1,728.55, due Plaintiff Luis Gonzalez in the amount of $12,649.42,

and due Julio Reynoso in the amount of $9,386.59. (See PSMF ¶ 32, 47, 63.)

         Defendants also did not assert a good faith affirmative defense to FLSA liquidated

damages. (See PSMF ¶ 64.) Defendants never paid overtime wages to Plaintiffs or other kitchen

workers and did not enable the overtime settings on their payroll software. (See PSMF ¶ 65-66.)

Defendants further admit paying Plaintiffs by check and in unreported cash under their dual pay

system and not making the required withholdings to Plaintiffs’ cash wages. (See PSMF ¶ 35, 50,

60, 67.) The Plaintiffs may therefore recover liquidated damages under the FLSA. See 29 U.S.C.

§ 216(b).

III.     LEGAL STANDARD

         Summary judgment on all or part of a claim or defense is proper “if the movant shows

that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). To oppose a motion for summary judgment successfully,

the responding party may not simply rest on its pleadings, but rather must submit evidentiary

materials showing that a material fact is genuinely disputed. Fed. R. Civ. P. 56(c)(1). A genuine

dispute of material fact exists when there is “sufficient evidence favoring the non-moving party

for a jury to return a verdict for that party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248,

(1986). The non-moving party bears the responsibility of identifying applicable evidence.

Bombard v. Ft. Wayne Newspapers, Inc., 92 F.3d 560, 562 (7th Cir. 1996). In determining

whether a genuine dispute of material fact exists, the court construes all facts and draws all

reasonable and justifiable inferences in favor of the non-moving party. Anderson, 477 U.S. at

255.




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         The overtime provision of the Illinois Minimum Wage Law, 820 ILCS 105/4a(1)

parallels that of the FLSA and courts apply the same analysis to both statutes. See Urnikis–Negro

v. Am. Family Prop. Servs., 616 F.3d 665, 672 n. 3 (7th Cir. 2010). Therefore, if a party prevails

under the FLSA, 29 U.S.C. § 207, et seq., he prevails under the IMWL as well.

IV.      ARGUMENT

         A.      Defendants Motel and Greenwald Are Liable Under the FLSA and IMWL

                 1.    Defendants Are Subject to the FLSA and IMWL Overtime Requirements

         The FLSA and IMWL require employers to pay their employees one and one-half times

their regular hourly rate of pay for all time worked in excess of forty (40) hours per week. 29

U.S.C. § 207a(1); 820 ILCS § 105/4a(1). Initially, Defendants do not contest that Plaintiffs

were each an “employee” under the law and were not exempt from overtime pay under either the

FLSA or IMWL. Defendant Motel also expressly admits that it was an employer of the Plaintiffs

under the FLSA and IMWL. Defendant Greenwald, however, denies that he was Plaintiffs’

employer under the FLSA and IMWL and insists that he cannot be held individually liable as a

matter of law.

         To qualify as an “employer” under the FLSA, an entity or individual must be “acting

directly or indirectly in the interest of an employer in relation to an employee.” 29 U.S.C. §

203(d). In evaluating whether an individual is an employer, courts avoid overly “formalistic

labels or common law concepts of agency.” Villareal v. El Chile, Inc., 776 F.Supp.2d 778, 785

(N.D. Ill. 2011), citing Goldberg v. Whitaker House Co-op., Inc., 366 U.S. 28, 33, (1961).

Instead, they evaluate the “economic reality” of the employment relationship. See Nehmelman v.

Penn Nat. Gaming, Inc., 790 F.Supp.2d 787, 795 (N.D. Ill. 2011); Villareal, 776 F.Supp.2d at

785.




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          The “economic reality” evaluation encompasses several factors, including whether the

alleged employer: “(1) had the power to hire and fire the employees; (2) supervised and

controlled employee work schedules or conditions of employment; (3) determined the rate and

method of payment; and (4) maintained employment records.” Nehmelman, 790 F.Supp.2d at

795. Significantly, in Defendants’ Amended Answer and during his own deposition, Defendant

Greenwald admitted that he possessed the authority to hire and fire Defendants’ employees, to

supervise and control employee work schedules or conditions of employment, to determine rate

and method of payment, and to maintain employment records. See PSMF ¶ 7-8.) Defendant

Greenwald further acknowledged during his deposition that he was the ultimate decisionmaker

for Defendant Motel and oversaw its day-to-day operations. (See Id.) Consequently, Defendant

Greenwald constitutes an “employer” under the FLSA and IMWL and may be held individually

liable.

          Plaintiffs are also able to satisfy the coverage requirements of the FLSA because

Defendants constitute a covered “enterprise” under the Act. See Villareal, 776 F.Supp.2d at 790

(employee is covered by the FLSA when the plaintiff/employee is a covered individual under the

FLSA or the employer is a covered enterprise). For FLSA coverage to exist, the “enterprise”

must be engaged in commerce or in the production of goods for commerce. This definition

includes an enterprise that:

                 (i) has employees engaged in commerce or in the production of goods
                 for commerce, or that has employees handling, selling or otherwise
                 working on goods or materials that have been moved in or produced
                 for commerce by any person; and

                 (ii) is an enterprise whose annual gross volume of sales made or
                 business done is not less that $500,000 (exclusive of excise taxes at the
                 retail level that are separately stated. 29 U.S.C. § 203(s)(1)(A).

In this case, Defendant Motel admits that it is an “an enterprise engaged in commerce” within the




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meaning of the FLSA, 29 U.S.C. § 203(s)(1)(A). Defendants further acknowledge that Motel’s

annual gross revenue exceeded $500,000.00 and their employees have regularly handled, sold, or

otherwise worked on goods and materials that have been moved or produced for commerce.

Defendants Motel and Greenwald are therefore subject to the requirements of the FLSA and

IMWL.

               2.      Defendants Violated FLSA and IMWL Overtime Wage Requirements

       Under the FLSA and IMWL, an employer must pay an employee who works more than

40 hours in a week at a rate one and one-half times the employee's regular rate for hours worked

after the fortieth hour. 29 U.S.C. § 207(a)(1); 820 ILCS § 105/4(a)(1). Defendants admit that

Plaintiffs, Julio Reynoso, Luis Gonzalez, and Manuel Gonzalez, worked more than forty (40)

hours per week. Defendants also admit that Defendants did not pay Plaintiffs overtime premiums

for hours worked over forty (40) in a workweek. Defendants make no other argument in defense

of their conduct. As a result, this Court should find that Defendants’ failure to pay overtime

wages violated section 207(a)(1) of the FLSA and section 105/4(a)(1) of the IMWL as a matter

of law. See Lizak v. Great Masonry, Inc., No. 08 C 1930, 2009 WL 3065396, at *6, 8-9 (N.D. Ill.

Sept. 22, 2009) (entering summary judgment in favor of plaintiff on FLSA and IMWL overtime

counts where defendants agreed that plaintiff worked more than forty (40) hours during

individual works weeks, but was not paid overtime premiums); See also Hardrick v. Airway

Freight Systems, Inc., 63 F.Supp.2d 898, 903 (N.D. Ill. 1999).

       B.      Plaintiffs Are Entitled to Damages Under The FLSA And IMWL

       Based upon the Defendants’ liability under the FLSA and IMWL, Plaintiffs, Manuel

Gonzalez, Luis Gonzalez, and Julio Reynoso are each entitled to recover damages under both

statutes. Plaintiffs may individually recover their unpaid overtime compensation under the




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FLSA and IMWL, liquidated damages under the FLSA in the amount of their unpaid overtime

compensation, statutory interest under the IMWL at the rate of 2% per month, and their

attorneys’ fees and costs incurred in bringing this action. In order to calculate their damages

under the FLSA and the IMWL, Plaintiffs rely upon Defendants’ own limited payroll records,

Plaintiffs’ paycheck stubs, and Plaintiffs’ sworn declarations regarding the hours they worked

and Defendants’ pay practices. Significantly, the Defendants did not maintain adequate records

of the hours worked by Plaintiffs on a daily or weekly basis.

               1.      Defendants’ Violation of FLSA and IMWL Recordkeeping Rules

       Both the FLSA and IMWL require employers to maintain records of employee hours

worked. See 29 U.S.C. § 211(c); 820 ILCS § 105/8. The regulations governing the specific

requirements mandate tracking the hours worked each workday and workweek, as well as total

wages paid for each pay period. See 29 C.F.R. § 516.2(a); 56 Ill. Admin. Code 210.700(f)

(emphasis added); See also Skelton v. Am. Intercontinental Univ. Online, 382 F.Supp.2d 1068,

1074 (N.D. Ill. 2005) (“[t]he IMWL parallels the FLSA, and thus the same analysis applies to

claims made under the IMWL and FLSA”). Here, it is undisputed that the Defendants did not

maintain records of the hours worked by its employees on a daily or weekly basis during 2010,

2011, and 2012. (See PSMF ¶ 17.)

       Where an “employers['] records are inaccurate or inadequate,” an employee can carry out

his burden of establishing a prima facie case if he proves that he performed work for which he

was not compensated by “produc[ing] sufficient evidence to show the amount and extent of that

work as a matter of just and reasonable inference.” Farmer v. DirectSat USA, LLC, No. 08 C

3962, 2010 WL 3927640, at *121 (N.D. Ill. Oct. 4, 2010), quoting Anderson v. Mt. Clemens

Pottery Co., 328 U.S. 680, 687-88 (1946). “The burden then shifts to the employer to come




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forward with evidence of the precise amount of work performed or with evidence to negative the

reasonableness of the inference to be drawn from the employee's evidence.” Id. If the employer

does not produce such evidence, the court may then award damages to the employee though the

amount of damages may be approximate. Id.

       In this case, the Plaintiffs satisfy their burden by relying upon payroll records that the

Defendants used to record hours worked over bi-weekly pay periods in 2010, 2011, 2012, and

the beginning on 2013. Specifically, the Plaintiffs refer to Defendants’ Pay Period Ending

Reports for the time period from August 2010 through January 13, 2013. (See PSMF ¶ 18-20,

26, 36-38, 40-41, 51, 53-54 and Exh. G.) In addition, Plaintiff Julio Reynoso has come forward

with samples of Defendants’ Labor 2 Reports. (See PSMF ¶ 21, 56, and Exh. H.) The Defendants

admit that these Pay Period Ending Reports and Labor 2 Reports show the hours worked by

Plaintiffs over their bi-weekly pay periods.

       The Plaintiffs’ reliance on Defendants’ own limited payroll records is therefore

appropriate and should be used as the basis for calculating Plaintiffs’ unpaid overtime pay during

this time period. See Uphoff v. Elegant Bath, Ltd., No. 96 C 4645, 1997 WL 285859, at *1-2,

and *4 n.1 (N.D. Ill. May 23, 1997) (entering summary judgment in favor of plaintiffs based

upon their audit of defendants’ incomplete payroll records including sign-in sheets which

showed actual number of hours worked), reversed on other grounds by Uphoff v. Elegant Bath,

Ltd., 176 F.3d 399, 405-06 (7th Cir. 1999).

       With regard to the time period from January 1, 2013 through the end of June 2013,

Plaintiffs have provided sworn declarations and paycheck stubs showing the hours they worked.

Plaintiffs Manuel Gonzalez and Luis Gonzalez have provided paycheck stubs for all but one of




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the periods during the first half of 2013. Critically, these paystubs show the total hours worked

by both Plaintiffs Manuel Gonzalez and Luis Gonzalez during individual pay periods.

       Each Plaintiff has also submitted a sworn declaration setting out the terms of their

employment with Defendants, their schedules, their pay rates, their average hours worked, and

Defendants’ methods of pay. (See Exhs. A, B, and C.) Notably, the declarations provided by

Plaintiffs Manuel Gonzalez, Luis Gonzalez, and Julio Reynoso demonstrate that the Plaintiffs

continued to work the same or similar hours during the first half of January 2013 as they did

during the initial two-and-a-half years of the limitations period. These declarations, along with

Defendants’ partial set of payroll records and Plaintiffs’ check stubs, provide an appropriate

basis for entering summary judgment and awarding Plaintiffs’ damages under the FLSA and

IMWL. See Solis v. Saraphino's, Inc., No. 09 CV 954, 2011 WL 1532543, at *4-5 (E.D. Wis.

Apr. 22, 2011) (entering summary judgment in favor of plaintiffs when defendants failed to

properly maintain payroll records and plaintiffs satisfied burden by providing declarations which

stated employment dates, days worked, days off, start and end times, pay rates, and pay

methods).

               2.      Unpaid Overtime Premiums Under FLSA and IMWL

       Plaintiffs seek to recover all unpaid overtime compensation due over the last three years.

While the Portal–to–Portal Act provides that the limitations period for FLSA claims is two years,

the statute of limitations is properly extended to three years when the cause of action arises out

of a willful violation of the FLSA. 29 U.S.C. § 255(a). Importantly, however, the IMWL

contains a three-year statute of limitations regardless of whether the violation was willful. See

820 ILCS § 105/12(a). As a result, Plaintiffs may recover three years’ worth of unpaid overtime




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compensation under the IMWL regardless of whether Defendants’ actions are deemed “willful”

under the FLSA.

       Nonetheless, Plaintiffs strongly contend that Defendants’ violation of the FLSA was

“willful”. An employer acts willfully, for purposes of establishing the proper statute of

limitations, where he knows or shows reckless disregard for whether his actions are unlawful

under the FLSA. Bankston v. State of Illinois, 60 F.3d 1249, 1253 (7th Cir.1995). Here, the

Defendants refused to enable the overtime settings on their payroll software and admittedly

failed to pay overtime compensation to Plaintiffs until this suit was filed. Defendants also

deliberately concealed their failure to pay overtime by instituting a dual pay system of check-

and-cash wage payments to employees. This Court should extend the FLSA limitations period to

three years based upon Defendants’ willful violations of the Act.

       Plaintiff Manuel Gonzalez is entitled to a damages award for unpaid premiums under the

FLSA and IMWL in an amount not less than $5,260.00. (See PSMF ¶ 31; See also Exh. I, T.

Nolan Dec. ¶ 3-7; See also Exh. I-1, M. Gonzalez Damages Summary.) From June 17, 2012

through July 12, 2013, Plaintiff’s regular hourly rate of pay was $10.00. During this time,

Plaintiff Manuel Gonzalez worked no less than 1,052 hours in excess of 40 in individual

workweeks. (See PSMF ¶ 31; See also Exh. I-1, M. Gonzalez Damages Summary.) From June

17, 2012 through the end of June 2013, Defendants never paid Plaintiff overtime compensation

at the rate of one and one-half times his regular hourly rate of pay. (See PSMF ¶ ____.)

       Plaintiff Luis Gonzalez is entitled to a damages award for unpaid premiums under the

FLSA and IMWL in an amount not less than $23,226.78. (See PSMF ¶ 46; See also Exh. I, T.

Nolan Dec. ¶ 9-14; See also Exh. I-2, L. Gonzalez Damages Summary.) Plaintiff’s regular hourly

rates of pay were $9.00, $9.50, $10.00, and $11.00. Based upon Defendants’ own Pay Period




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Earning Reports and his check stubs, Plaintiff Luis Gonzalez worked no less than 4,701.5 hours

in excess of 40 in individual workweeks from August 2, 2010 through the end of June 2013. (See

PSMF ¶ 46; See also Exh. I-2, L. Gonzalez Damages Summary.) During this time, Defendants

never paid Plaintiff overtime compensation at the rate of one and one-half times his regular

hourly rate of pay.

       Plaintiff Julio Reynoso is entitled to a damages award for unpaid premiums under the

FLSA and IMWL in an amount not less than $16,736.72. (See PSMF ¶ 62; See also Exh. I, T.

Nolan Dec. ¶ 16-21; See also Exh. I-3, J. Reynoso Damages Summary.) Plaintiff performed both

kitchen work and cleaning work for the Defendants and spent approximately 56 hours per week

performing both services for Defendants. For kitchen work, Plaintiff’s regular hourly rate of pay

was $12.50. For cleaning work, Defendants’ paid Plaintiff $250 per week for approximately 14

hours of work. Because Plaintiff received different hourly rates of pay for different work,

Plaintiff’s average hourly rate for all work is properly determined by computing his total weekly

compensation and dividing it by the hours he worked in a workweek. See 29 C.F.R. § 778.115;

See also Exh. I, T. Nolan Dec., ¶ 17.) From August 2, 2010 through June 2013, the total number

of hours worked by Plaintiff in excess of 40 in an individual workweek and for which

Defendants did not pay him an overtime premium is not less than 2,423.86. (See PSMF ¶ 62;

See also Exh. I-3, J. Reynoso Damages Summary.)

               3.     FLSA Liquidated Damages

       Apart from permitting recovery of unpaid overtime wages, the FLSA also permits

plaintiffs to receive “an additional equal amount” as liquidated damages. 29 U.S.C. § 216(b).

Where a FLSA violation has occurred, “double damages are the norm.” Walton v. United

Consumers Club, Inc., 786 F.2d 303, 310 (7th Cir. 1986). To avoid liquidated damages, the




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employer bears the burden of demonstrating that its violation of the Act occurred in a good faith,

reasonable belief that its actions were not illegal. Renteria v. Italia Foods, Inc., No. 02 C 495,

2003 WL 21995190, at *1 (N.D. Ill. Aug. 21, 2003).

       Initially, this Court should find that Plaintiffs are entitled to FLSA liquidated damages as

a matter of law, because the Defendants did not plead the affirmative defense of good faith. It is

well-established that the failure to plead an affirmative defense in an answer constitutes waiver.

Johnson v. Sullivan, 922 F.2d 346, 355 (7th Cir. 1990); Illinois Conference of Teamsters v.

Steve Gilbert Trucking, 71 F.3d 1361, 1365 (7th Cir. 1995). Here, Defendants failed to plead the

good faith affirmative defense to liquidated damages or any affirmative defense in their

Amended Answer to Plaintiffs’ Complaint. Plaintiffs are therefore entitled to recover liquidated

damages under the FLSA.

       Also, even if the Defendants had pled an affirmative defense, they would be unable to

demonstrate that their failure to pay overtime was the result of good faith or a reasonable belief

that their payment scheme was lawful and legitimate. An employer's proof that its officials

attended seminars regarding the FLSA, reviewed the law, and consulted with counsel can

establish reasonable good faith. Pautlitz v. City of Naperville, 874 F. Supp. 833, 835 (N.D. Ill.

1994). However, even if Defendants made a good-faith effort to become familiar with the FLSA,

they could not have reasonably concluded that their policy of not paying overtime wages to

Plaintiffs, and other kitchen workers, was in compliance with the Act. A cursory review of the

FLSA would have led them to the same conclusion, namely, that none of the Act’s exemptions

apply to kitchen workers paid by the hour.

       Ultimately, the Defendants’ actions, including their check-and-cash wage payment

scheme, suggest that they realized that their non-payment of overtime wages was illegal yet they




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sought to avoid their obligations by any means necessary. Defendants did not make required

federal withholdings, they violated FLSA recordkeeping requirements, and they did not enable

the overtime settings on their internal payroll systems. Defendants will therefore be unable to

show that they exercised good faith and attempted to comply with the FLSA and its provisions.

See Doo Nam Yang v. Acbl Corp., 427 F.Supp.2d 327, 340 (S.D.N.Y., 2005) (awarding

liquidated damages under FLSA when employer failed to keep records, failed to pay overtime

and did not pay Social Security for the Plaintiff). Plaintiffs Manuel Gonzalez, Luis Gonzalez,

and Julio Reynoso are entitled to an award of liquidated damages under the FLSA in the

respective amounts of $5,260.00, $23,226.78, and $16,736.72.

               4.      IMWL Statutory Interest

       Under the IMWL, an employee who is not paid as the statute requires is entitled to

recover the amount of the underpayment, plus “damages of 2% of the amount of any such

underpayments for each month following the date of payment during which such underpayments

remain unpaid.” 820 ILCS 105/12(a). Employees are entitled to recover IMWL interest in

addition to unpaid overtime premiums and FLSA liquidated damages. See Lizak, 2009 WL

3065396, at *9. Based upon calculating interest on Plaintiffs’ unpaid overtime wages at the rate

of two-percent (2%) per month, Plaintiff Manuel Gonzalez is entitled to recover IMWL statutory

interest in the amount of $1,728.55. Plaintiff Luis Gonzalez is entitled to an award of IMWL

statutory interest in the amount of $12,649.42. Lastly, Plaintiff Julio Reynoso is entitled to

recover IMWL statutory interest in the amount of $9,386.59. (See Group Exhibit I.)

               5.      Attorneys’ Fees and Costs

       The FLSA and IMWL provide that, in addition to any judgment awarded, plaintiffs may

recover reasonable attorneys' fees and costs. 29 USC § 216(b); 820 ILCS 105/12(a). Plaintiffs




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hereby request leave from the Court to file their petition for an award of reasonable attorneys’

fees and costs incurred by the Plaintiffs in prosecuting this action, including this motion for

summary judgment.


Dated: May 22, 2014                                   Respectfully submitted,
                                                      Manuel Gonzalez, Luis Gonzalez, and Julio
                                                      Reynoso, Plaintiffs



                                                      /s/Timothy M. Nolan
                                                      ____________________________________
                                                      One of Plaintiffs’ Attorneys

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